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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF WYOMING

  CUSTODIA BANK, INC.,                  Civil Case No.: 1:22-CV-00125-SWS

                           Plaintiff,

  v.
  BOARD OF GOVERNORS OF THE
  FEDERAL RESERVE SYSTEM, and
  FEDERAL RESERVE BANK OF
  KANSAS CITY,

                       Defendants.


       [PROPOSED] BLOCKCHAIN ASSOCIATION AND PAYMENT SYSTEMS
          SCHOLARS’ AMICI CURIAE BRIEF IN SUPPORT OF PLAINTIFF
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                    CORPORATE DISCLOSURE STATEMENT

      Counsel for amicus Blockchain Association (BA) certifies that BA has no parent

corporation and no publicly held corporation owns 10% or more of any stock in BA.1




                          
      1 Amici curiae Gerald P. Dwyer, Frank Emmert, Tonya M. Evans, Julie Andersen Hill,

and George Selgin are individuals, not corporations.

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                  IDENTITY AND INTEREST OF AMICI CURIAE2

       Amici curiae Gerald P. Dwyer, Frank Emmert, Tonya M. Evans, Julie Andersen Hill,

and George Selgin are professors and scholars who specialize in financial markets, banking

regulation, and digital asset markets. Their backgrounds are detailed in the attached

appendix.

       Amicus curiae Blockchain Association (BA) is the leading nonprofit membership

organization dedicated to promoting a pro-innovation policy environment for digital assets.

BA endeavors to achieve regulatory clarity and to educate policymakers, regulators, courts,

and the public about how blockchain technology can pave the way for a more secure,

competitive, and consumer-friendly digital marketplace. BA represents over 100 member

companies that reflect the diversity of the dynamic blockchain industry, including software

developers, infrastructure providers, exchanges, custodians, investors, and others supporting

the public blockchain ecosystem. Blockchain technology, which underlies digital assets, has

demonstrated the potential to foster a more equitable financial system and return control over

user data back to individuals instead of large corporations. Unlike traditional payment

methods, digital assets are accessible to anyone with an internet connection, enabling those

who may lack financial services—or those who wish for more efficiency, transparency, and

fewer fees—to join the global economy. Although the industry is still in its nascency, growth




                            
       2 In accordance with Local Rule 7.1(b)(1)(A), Amici have conferred with the

parties and they consent to the filing of this amicus brief. In accordance with Local
Rule 83.6(d) and Federal Rule of Appellate Procedure 29(4)(E), Amici affirm that no
party or counsel for a party authored this brief in whole or in part and that no person
other than amici, their members, or their counsel made any monetary contributions
intended to fund the preparation or submission of this brief.

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is rapid and protecting the ability of developers and entrepreneurs to innovate through

sensible regulation is key.

       Amici have an interest in ensuring an effective regulatory banking regime.

                              PRELIMINARY STATEMENT

       The outcome of this case may gravely impact decades-long precedent and

established Congressional directives to maintain the strength of America’s dual

banking system. The dual banking system established by Congress empowers both

the state and federal governments to play equal roles in chartering and regulating

banks. It reflects sovereign values dating back more than a century, and has allowed

state banking systems to lead innovation in how Americans move, use, and manage

their money. The arguments advanced by the Board of Governors of the Federal

Reserve System and the Federal Reserve Bank of Kansas City (Defendants) in this

case threaten to upend this system.       Defendants arrogate power to the federal

banking agencies that Congress did not intend.

       Defendants’ actions in this case transform the long-established master account

process from a simple application (akin to opening a bank account) into an

opportunity for a federal agency to second-guess a state’s risk-based supervisory

framework. Not only is this inconsistent with the Federal Reserve Board’s long-held

practice for master accounts, but sanctioning this newly proclaimed power is inconsistent

with the balance between state and federal responsibility in the dual banking system.

Amici therefore urge this Court to grant Custodia’s Petition for Review and Motion

for Judgment as a Matter of Law. Pl’s Omnibus Br., ECF 239.



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                                      ARGUMENT
          The impact of Defendants’ arguments upends the balance between state and

federal financial regulators. This case raises the fundamental question of whether

federal financial regulators can empower themselves to second-guess a state’s risk

analysis—like       Wyoming’s    Special   Purpose   Depository   Institution   (SPDI)

framework—and upset the balance between state and federal financial regulation

within the dual banking system.

     I.         Defendants’ assertion of complete discretion to deny master accounts
                undermines the important role states play in the dual banking system

          “Since the early days of our Republic, the federal government and the states

have shared responsibility for the regulation of banking.” Arthur E. Wilmarth Jr.,

The Expansion of State Bank Powers, the Federal Response, and the Case for

Preserving the Dual Banking System, 58 Fordham L. Rev. 1133, 1152 (1990).3 This

shared responsibility has traditionally resulted in state regulation dominating

payments, and federal regulation focused on money laundering and illicit finance

concerns. See Yesha Yadav et al., Payments and the Evolution of Stablecoins and

CBDCs in the Global Economy, Vand. L. Rsch. Paper No. 23-19 at 6 (revised Apr. 25,

2023), http://tinyurl.com/msbc6b82; see also Julie L. Stackhouse, Why America’s

Dual Banking System Matters, Fed. Rsrv. Bank of St. Louis (Sept. 18, 2017),

http://tinyurl.com/mu7p78jw (“In our country’s early years, those seeking to issue and



                             
          3 The parallel state and federal banking systems that co-exist in the United

States today is called the “dual banking system.” See Congressional Rsch. Serv.,
Federal Preemption in the Dual Banking System: An Overview and Issues for the
116th Congress, 4–5 (May 17, 2019), https://sgp.fas.org/crs/misc/R45726.pdf.
                                            3
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circulate bank notes required a bank charter, and most of those charters were issued

at a state level.”).

             A.        The dual banking system respects the distinct chartering
                       authority of both state and federal entities

       Under today’s dual-banking system, banks have the option of applying “for a

national charter from the Office of the Comptroller of the Currency (OCC) or a state

charter from a state’s banking authority.” Federal Preemption in the Dual Banking

System: An Overview and Issues for the 116th Congress, supra, at 4–5. A bank’s

choice of chartering authority is also a choice of its primary regulator; the OCC is the

primary regulator of national banks and state agencies serve as primary regulators

of state-chartered banks. Lacewell v. Off. of Comptroller of Currency, 999 F.3d 130,

135 (2d Cir. 2021) (“Within [the dual banking] system, both federal and state

governments are empowered to charter banks and to regulate the banks holding their

respective charters.”); 12 U.S.C. § 1(a) (2010). As of September 2023, there are 3,551

state-charted banks and 729 commercial banks with national charters. FDIC, FDIC

State Tables, https://state-tables.fdic.gov/ (last visited Jan. 18, 2024).  State banks

are an important part of the United States banking system.

       National banks are typically subject to generally applicable state laws, and

state banks may be subject to generally applicable federal laws and federal

regulations.      Federal Preemption in the Dual Banking System, supra, at 6–7.4


                              
       4 By design, state law provides the legal backdrop against which national
banks function, and “[t]he fact that the banking agencies maintain a close
surveillance of the industry with a view toward preventing unsound practices that
might impair liquidity or lead to insolvency does not make federal banking regulation
all-pervasive.” United States v. Phila. Nat’l Bank, 374 U.S. 321, 352 (1963); First
                                              4
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“Because federal and state banking laws allow banks to convert between national and

state charters without the approval of their current regulator, the dual banking

system contains a ‘safety valve’ allowing banks to escape from arbitrary, inflexible or

outdated regulation.” Wilmarth Jr., supra, at 1155.5

      Although common parlance refers to “the Fed” as a single, uniform entity, the

system is more complex.6 The Federal Reserve System includes a central governing

Board with seven members and twelve Federal Reserve Banks supervised by the

Board. See Federal Reserve Act, ch. 6, 38 Stat. 251 (1913); Fed. Rsrv. Sys., The Fed

Explained:     What     the    Central     Bank     Does     2    (11th    ed.    2021),

http://tinyurl.com/n8fkxy3m; Julie Andersen Hill, Opening a Federal Reserve Account,

40 Yale J. on Reg. 459 (2023). “[M]aster accounts” are Federal Reserve Bank accounts

that provide financial institutions the safest place “to deposit money” and the potential

to “earn interest.” Andersen Hill, supra, at 459. A master account also confers access to

“payment systems operated by the Federal Reserve” System, including “check clearing,


                           
Nat’l Bank v. Kentucky, 76 U.S. 353, 362 (1869) (national banks “are subject to the
laws of the State, and are governed in their daily course of business far more by the
laws of the State than of the nation”).
       5 This case highlights why the dual banking system is important: in the face of

a vacuum of federal regulation for crypto banking services, states like Wyoming have
stepped up to fill the void. See Section II, infra.
       6 See Peter Conti-Brown, The Twelve Federal Reserve Banks: Governance and

Accountability in the 21st Century, Brookings Working Paper No. 10 at 3 (Mar. 2,
2015), http://tinyurl.com/444d8j74 (“The term ‘Federal Reserve’ is not a noun, but a
compound adjective. There are Federal Reserve Banks, Federal Reserve Notes, a
Federal Reserve Board, and, taken together, a Federal Reserve System, all created
by the Federal Reserve Act of 1913. But there is no ‘Federal Reserve’ by itself. This
vocabulary failure belies a harder problem for thinking about the Federal Reserve
System—even though we rarely refer to it as such, to paraphrase Kenneth Shepsle,
the Fed is a ‘they,’ not an ‘it[.]’”).

                                           5
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wire transfer, and automated clearinghouse payment systems.” Id. at 459–60. Fourth

Corner Credit Union v. Fed. Rsrv. Bank of Kan. City, 861 F.3d 1052, 1053 (10th Cir.

2017) (Op. of Mortiz, J.) (“A master account is, put simply, a bank account for banks.”).

Payments made through the system are generally safer and cheaper than payments by

other means. Federal Reserve notes and master account balances are “central bank

money,” which has no settlement or credit risk. Because paper notes can be stolen,

master account balances are considered the safest money. Jon Durfee et al., Examining

CBDC      and     Wholesale     Payments,       FEDS     Notes     (Sept.    8,   2023),

http://tinyurl.com/53vfhjvh; Yadav et al., supra, at 11–12 (Banks with master account

balances “enjoy the assurance that their funds are held in the safest [metaphorical]

vaults anywhere.”).

       Access to master accounts reduces latent settlement and concentration risk, as

depository institutions do not rely on other institutions to settle customer accounts

with the Federal Reserve System. Bank for Int’l Settlements, Principles for Financial

Market Infrastructures 73 (Apr. 2012), http://tinyurl.com/4uwxw294 (A financial

market infrastructure (FMI) “should conduct its money settlements in central bank

money where practical and available. If central bank money is not used, an FMI

should minimi[z]e and strictly control the credit and liquidity risk arising from the

use of commercial bank money.”).7



                           
       7 Risk is further reduced because Defendants can offer a SPDI a “zero net debit

cap” master account, which, like a debit card, does not permit the institution to
overdraw its account. Bd. of Governors of Fed. Rsrv. Sys., Guide to the Federal
Reserve’s Payment System Risk Policy on Intraday Credit § II. C. (eff. July 12, 2012),
http://tinyurl.com/mry9be82. Additionally, the Federal Reserve is given a senior lien
                                            6
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      Using a master account is also cheaper because payments are, in practice,

ultimately settled through transfers to and from depository institutions’ Federal

Reserve master accounts. Transfers at the Fed have legal finality. Office of the

Comptroller      of     the       Currency,   Payment   Systems    11    (Oct.    2021),

http://tinyurl.com/3sfefu64 (“[e]ach transfer is final and irrevocable when made”). A

depository institution without a master account must work through a “correspondent

bank” that has a Federal Reserve account and is willing to hold the other institution’s

“deposits and process its payments” through the Federal Reserve System (often at

great expense to its correspondent institution). This arrangement typically involves

more time, a settlement risk if the correspondent bank fails, and the possibility that

the correspondent closes the account. Andersen Hill, supra, at 460. Within the dual

banking system, a depository institution that obtains a state charter is legally eligible

for a master account. Id. 8

            B.        The Monetary Control Act maintains the state-federal balance in
                      the dual banking system

      Congress has taken steps to ensure that Federal Reserve payment services are

equally available to state and nationally chartered depository institutions. In 1980,

Congress passed the Monetary Control Act, which sought to provide broad access to


                              
on an SPDI’s assets in the event of receivership, which effectively reduces the risk to
the Federal Reserve System to near zero. Wyo. Rules & Regs. 021.0002.20 § 6(j)(ii).
      8   To obtain a correspondent relationship with another bank, the Federal
Reserve must approve the correspondent relationship based on the same standards
as a master account application. So far, the Federal Reserve has refused permission
to Custodia for even a correspondent relationship. Fed. Rsrv. Fin. Servs., Federal
Reserve Banks Operating Circular No. 1, Account Relationships (eff. Sept. 1, 2023),
http://tinyurl.com/ecftjvuu.

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Federal Reserve’s services. The bill’s key aim was to facilitate “wide access to Federal

Reserve services for nonmember banks” and to ensure “that a basic level of services

is available to all banks throughout the country on a nondiscriminatory basis.” H.R.

Rep. No. 95-1590, at 20 (1978).9 In the provision at the heart of this case, Section

248a(c)(2), Congress required that Federal Reserve Banks provide the same account

and payment services to all depository institutions (even though some posed more

risk than others and that states weighed risk as part of their chartering process).10

      The plain text of Section 248a(c)(2) reflects that nonmember depository

institutions are entitled to purchase services from Federal Reserve Banks. As a

practical matter, the Federal Reserve bank services discussed in Section 248a(c)(2)

can only be provided to institutions with master accounts.11 It follows that the

decision to deny a master account to any eligible depository institution is tantamount


                           
      9 See also 126 Cong. Rec. 6197, 6250 (1980) (Conf. Rep.) (“House amendment

includes a provision for the Federal Reserve to . . . open access to [Federal Reserve]
services to all depository institutions on the same terms and conditions as member
banks.”).
       10 12 U.S.C. § 248a(c)(2) (1980) (“All Federal Reserve bank services covered by

the fee schedule [that the Monetary Control Act required the Board of Governors of
the Federal Reserve System to propose] shall be available to nonmember depository
institutions and such services shall be priced at the same fee schedule applicable to
member banks, except that nonmembers shall be subject to any other terms,
including a requirement of balances sufficient for clearing purposes, that the Board
may determine are applicable to member banks.”).
      11  “[A]ll services offered by the Federal Reserve System are conditioned on the
issuance of master accounts. . . . Without a master account, none of the fee schedule’s
services would be available.” Fourth Corner Credit Union, 861 F.3d at 1068–69 (Op.
of Bacharach, J.); Peter Conti-Brown, The Fed Wants to Veto State Banking
Authorities.        But is That Legal?               Brookings (Nov. 14, 2018),
http://tinyurl.com/569enyb5 (“The master account allows a financial institution to
participate in the payment system. Without it, a financial institution can’t really
function as a financial institution. It becomes instead a kind of storage locker.”).

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to charging it a prohibitive price for the services in question. Although Defendants

suggest that certain depository institutions pose risks that make them unsuitable to

receive master accounts, neither the Monetary Control Act nor any other part of the

Federal Reserve Act grants the Federal Reserve the right to act as supervisor for

state-chartered banks, by vetting them for risk or otherwise, absent a bank becoming

a member bank of the Federal Reserve System. Wyoming in particular has an

extensive   risk-vetting   framework    composed     of   two   separate   chapters    of

administrative rules and a 772-page examination manual, which are primarily based

on Federal rules for banks.      Wyo. Div. of Banking, Special Purpose Depository

Institution Examination Manuals (Jan. 2021), http://tinyurl.com/4medjt5v.

      In fact, for almost four decades, the Federal Reserve Board did not view itself

as responsible for second-guessing the risk evaluations in the state-chartering process.

Opening a master account was straightforward and similar to opening a bank account: an

institution would fill out “a one-page form” that identified the applicant, “list[ed] the

people to whom the Federal Reserve Bank should direct questions,” and committed

to be “bound by the Federal Reserve’s account policies.” Andersen Hill, supra, at 455.

The process typically took five to seven business days. Id. at 456. In the last decade,

however, the Federal Reserve Board began using the master account process to deny

state-chartered depository institutions access to its payment services, while justifying

such denials—whether outright or by refusal to make a decision—by appeal to




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potential riskiness. Id. For more novel entities, securing a master account became

“a lengthy process more like applying for a bank charter.” Id. 12

      The Federal Reserve Board recently formalized its self-declared risk-

assessment responsibility by adopting Guidelines for Evaluating Account and

Services Requests, 87 Fed. Reg. 51,099, 51,099 (Aug. 19, 2022). The Guidelines set

forth an extensive risk-vetting framework for accounts and services, laying out three

tiers for classifying banks. Id. at 51,109. Tier 1 for institutions insured by the

Federal Deposit Insurance Corporation (FDIC). Institutions not federally insured,

but subject to federal banking agency supervision, are classified as Tier 2. Id. at

51,109–110. And Tier 3 institutions are neither federally insured nor subject to

federal agency supervision. Id. at 51,110. Applications from Tier 3 institutions are

presumptively denied. Id. at 51,106–110; see also ECF 239 at 14 (citing discovery

from Kansas City Federal Reserve staff stating that “approval isn’t anticipated if Tier

3 route is taken”).

      The Guidelines formalized the chartering-like process novel banks recently

encountered from the Federal Reserve Board (without appropriate Congressional

authority). Id. at 51,099 n.3 (acknowledging that “[i]n developing the Account Access

Guidelines, the Board sought to incorporate as much as possible existing Reserve

Bank risk management practices”); accord Decl. in Support of Pl’s Omnibus Br., ECF



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      12 Novel banking technologies are the vanguard of innovation, yet, as with

digital banking in the early 2000s, the Federal Reserve System has often approached
them with concern over potential risk. See Fed. Rsrv. Bd., A Summary of the
Roundtable Discussion on the Risk and Security Involving Retail Payments Over the
Internet, http://tinyurl.com/5fprsstd (last visited Jan. 18, 2024).
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240-17, Ex. Q at FRBKC-00017835 (notes from Kansas Federal Reserve President

Esther George concluding that, notwithstanding the Board’s work on the Guidelines,

“this [is] an issue for Congress”). Notwithstanding the Guidelines, it remains difficult

for innovative banks to obtain access to master accounts. And, while the Guidelines

suggest that certain applicants will be subject to greater scrutiny, they give little

clarity for precisely how a novel institution can obtain an account. Nor do they impose

a clear limit on the time the Federal Reserve Board may take to reach a decision. In

short, the Board has not imposed any constraint on its ability to arbitrarily deny

legally eligible depository institutions access to master accounts. Yadav et al., supra,

at 12–13.

      The Federal Reserve Board essentially claims near-absolute authority over

master accounts. This result is inconsistent with the dual-banking system enacted

by Congress and the principles of good government.

            C.    The Federal Reserve Board’s self-assigned risk-vetting
                  responsibility undermines financial innovation

      The Monetary Control Act does not empower the Federal Reserve Board to

second-guess a state’s chartering decisions. And, despite multiple efforts to remove

state authority over bank regulation, Congress has repeatedly upheld the dual

banking system. Wilmarth Jr., supra, at 1153–54; In re S. Indus. Banking Corp., 872

F.2d 1257, 1260 (6th Cir. 1989) (describing “Congress’ longstanding concern for

maintaining a dual banking system in the United States”); Nat’l State Bank,

Elizabeth, N.J. v. Long, 630 F.2d 981, 985 (3d Cir. 1980) (“congressional support

remains for dual regulation”); see also 12 U.S.C. § 25b(b)(1)(B) (Dodd-Frank) (2018)


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(explaining that federal law will not preempt state consumer financial law unless

“State consumer financial law prevents or significantly interferes with the exercise

by the national bank of its powers”).

      In 1933, for example, Congress rejected proposals that would have undermined

the state banking system by “allowing national banks to branch across state lines and

by providing federal deposit insurance only to national banks and state member

banks.” Congress, instead, preserved the rule “allow[ing] national banks to establish

branches only within their home state[s],” and only where state-chartered banks

enjoyed the same privilege.     Wilmarth Jr., supra, at 1154.    In 1956, “Congress

prohibited interstate acquisitions of banks by bank holding companies without state

authorization,” thus preserv[ing] state control over the expansion of banking

organizations.” Id. More recently, Dodd-Frank codified a high standard for federal

preemption of state consumer financial law. See Lusnak v. Bank of Am., N.A., 883

F.3d 1185, 1193 (9th Cir. 2018) (“state consumer financial law is preempted only if it

‘prevents or significantly interferes with the exercise by the national bank of its

powers’”) (quoting 12 U.S.C. § 25b(b)(1)(B)).13

      The dual banking system has a long record of state innovation inspiring

Congress’s legislation. “Courts and commentators frequently have recognized that

the 50 States serve as laboratories for the development of new social, economic, and

                          
      13 Accord J.W. Verret, Federalism and Fintech Firms: A Review of Pro-Fintech

Innovations and A Suggested Federalism Based Reform to Facilitate Fintech
Innovation, 41 Rev. Banking & Fin. L. 313, 340 (2021) (“the Dodd-Frank Act explicitly
ensures that the CFPB cannot stand in the way of a ‘race to regulate’ or otherwise
alleviate anticompetitive regulations adopted by states under the guise of consumer
protection”).
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political ideas.”   FERC v. Mississippi, 456 U.S. 742, 788 (1982) (O’Connor, J.,

concurring in part and dissenting in part);14 see also United States v. Lopez, 514 U.S.

549, 581 (1995) (Kennedy, J., concurring) (discussing states’ role “as laboratories for

experimentation to devise various solutions where the best solution is far from clear”);

New State Ice Co. v. Liebmann, 285 U.S. 262, 311 (1932) (Brandeis, J., dissenting)

(“It is one of the happy incidents of the federal system that a single courageous state

may, if its citizens choose, serve as a laboratory; and try novel social and economic

experiments without risk to the rest of the country.”). The state banking system has

helped innovate “real estate lending, trust services, reserve requirements, and

deposit insurance”—all innovations that Congress eventually incorporated into the

laws governing national banks.        See Wilmarth Jr., supra, at 1156–57.          State

innovation also spurred “interstate electronic funds transfer (‘EFT’) systems” by

establishing “networks of automated teller machines (‘ATMs’).”15 Id. at 1156. States

initiated use of “negotiable order of withdrawal (‘NOW’) accounts.”16 Id. Congress




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      14 “This state innovation is no judicial myth.        When Wyoming became a State
in 1890, it was the only State permitting women to vote.” Mississippi, 456 U.S. at
788. Wyoming is also home to America’s first national park, first national monument,
and it created the limited liability company form of business entity. Wyo. Sec’y of
State, The Choice is Yours (2022), https://sos.wyo.gov/Forms/Publications/
ChoiceIsYours.pdf; Libr. of Congress, Yellowstone, the First National Park,
http://tinyurl.com/yyd9y3hb (last visited Jan. 18, 2024).
        15 “Interstate shared EFT systems enable customers of a participating bank to

obtain access to their accounts by using ATMs located at other participating
institutions in the same state or in different states.” Wilmarth Jr., supra, at 1156 n.98.
        16 “NOW accounts are savings accounts” that allow a “customer to withdraw

funds by means of a negotiable instrument” like “a check.” Id. at 1156 n.99.
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authorized NOW accounts only after several states demonstrated that this

convenient service was “highly desirable to both consumers and banks.” Id. at 1157.17

       Another example of state banking innovation is South Dakota’s decision in the

early 1980s permitting banks to charge credit card holders higher rates—most state

usury laws at the time capped the maximum rate well below the Federal Reserve’s

Federal Funds Rate. South Dakota’s innovation attracted banks (including Citibank

and Wells Fargo) and allowed them to strengthen credit card offerings. Frontline,

Secret History of the Credit Card, PBS (2004), http://tinyurl.com/y28u8cm9. “[B]y allowing

the states to adopt new approaches to bank regulation, the dual banking system

permits individual states to act as ‘laboratories for change’ and to have their experiments

adopted by Congress if they prove to be successful.” Wilmarth Jr., supra, at 1155–56.18

       States’ banking authorities also facilitate change in the face of Congressional

paralysis. In the context of the interstate banking movement, for example, “Congress

                            
       17 State regulators in the financial industry are generally more responsive to

needs of local communities and locally-based banks. State regulators are, therefore,
the driving force for innovation. Baher Azmy, Squaring the Predatory Lending Circle:
A Case for States as Laboratories of Experimentation, 57 Fla. L. Rev. 295, 392 (2005)
(federalism “promotes the democratic ideal because state governments are more
closely in tune with their citizens and therefore more accountable and responsive to
local constituent needs”); id. at 394 (“[S]tates will often react to social and economic
problems more immediately and responsively than the federal government.”).
       18 Unsuccessful state innovation within the dual banking system limits the risk

of widespread harm because the experiment was limited to a single state. Tamar
Frankel, The Dual State-Federal Regulation of Financial Institutions–A Policy
Proposal, 53 Brook. L. Rev. 53, 56 (1987) (“in times of change, when experiments and
innovations are particularly valuable, the dual banking system reduces the risk of
adverse effects to the national system by limiting experiments to one state”). Such
“decentralized decision-making promoted by federalism allows for more and better
opportunities for innovation and experimentation with social and economic policy
than does one centralized bureaucracy.” Azmy, supra, at 392; Wilmarth Jr., supra,
at 1157 (“It seems likely that these state experiments will provide useful practical
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was unable to enact legislation and the states took the lead in liberalizing geographic

restraints on interstate acquisitions of banks.” Id. at 1177. As another example,

“[f]ederal law currently prohibits national banks and bank holding companies from

engaging in most types of securities underwriting, insurance underwriting and sales,

and real estate investment and development activities. In recent years Congress has

been stymied by contests among competing interest groups and has not acted on

legislative proposals to authorize new bank powers.” Id. at 1152. “In contrast, many

state legislatures have enacted laws permitting banking organizations to engage to

some degree in securities, insurance or real estate activities.” Id. And, some “states

responding to the predatory lending phenomenon have supplemented [federal law]

by including a greater proportion of loans to be subject to regulation.” Azmy, supra,

at 365.

                                     *     *      *

          Defendants’ argument that the routine master account process empowers them

to second-guess the risk assessment underlying a state-issued charter threatens the

dual banking system, which has facilitated responsive and innovative banking.

    II.         Defendants’ newfound risk-assessment role fundamentally undermines
                Wyoming’s chartering decision

          Any suggestion in this case that Wyoming’s SPDI process requires additional

federal risk micromanagement undermines Wyoming’s role in the dual-banking



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experience that will assist in fashioning a new federal policy on bank powers.”); Azmy,
supra, at 362 (“The percolation of state and local regulations is thus generating a
sophisticated invaluable regulatory dialogue between the federal and state
governments–a real value to our federal system[.]”).

                                           15
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system. Custodia was already evaluated—and passed—a thorough government risk

assessment when it was chartered by the State of Wyoming as a Special Purpose

Depository Institution. First Am. Compl., ECF 121, ¶¶ 3, 14.

      1.     Wyoming enacted a banking charter for Special Purpose Depository

Institutions in 2019 to facilitate banking with digital assets. See H.B. 74, 65th Leg.,

Reg. Sess. (Wyo. 2019); Wyo. Stat. Ann. § 13-12-101, et seq. It thereby became the

first state to offer a bank charter that outlines how regulatory authorities will

supervise digital assets.

      Just because Wyoming’s SPDI charter is innovative, there is no reason to

suppose that depository institutions established under it pose added risks that

warrant extra scrutiny by federal officials, let alone refusal to grant master accounts.

On the contrary: to qualify as a Wyoming SPDI a depository institution must be

considerably safer than most banks, including national banks. Wyoming’s regulation

requires that a SPDI’s assets be “managed prudently, consistent with safe and sound

banking practices, in a manner that [a]ddresses interest rate risk, including

repricing, basis, yield curve and option risk; [p]revents mismatching; and [a]ccounts

for potential stress scenarios.” Wyo. Rules & Regs. 021.0002.20 § 9(d)(i)–(iii); Special

Purpose Depository Institution Examination Manuals, supra.            The regulation’s

specific requirements are strict: a SPDI must invest 100% of its U.S. dollar demand

deposits in either cash on hand or high-quality liquid assets, altogether prohibiting

it from making any loans. State of Wyo., Dep’t of Audit, Division of Banking, Special

Purpose Depository Institutions: Updated Capital Requirement Guidance (July 7,

2021), http://tinyurl.com/yp5f5ncn; Wyo. Stat. Ann. § 13-12-105(a) (“At all times, a

                                          16
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special purpose depository institution shall maintain unencumbered liquid assets

valued at not less than one hundred percent (100%) of its depository liabilities.”).

SPDIs hold customer deposits in U.S. dollars (or similar “highly liquid” non-volatile

“[i]nvestments,” such as “obligations of the United States treasury or other federal

agency obligations”). Wyo. Stat. Ann. § 13-12-105(b)(iii).

      Custodia’s proposed model is stricter still. Custodia proposes to 100% back its

customers’ U.S. dollar deposits with Federal Reserve master account balances (the

safest of all U.S. dollar assets). In short, Custodia seeks to operate what economists

call a “full reserve” bank.    See Adam J. Levitin, Safe Banking: Finance and

Democracy, 83 U. Chi. L. Rev. 357, 413–16 (2016) (citing Milton Friedman, A Program

for Monetary Stability 65–76 (Fordham 1960)). And while it is true that Custodia’s

plan does not include FDIC insurance, economists have long understood full-reserve

banking as a safe alternative to deposit insurance because it dispenses with the risks

responsible for most bank failures (severe decline in the value of bank assets or

unsustainable depositor runs). Id. at 361. Because it also avoids the “moral hazard”

problem—banks’ tendency to take excessive risks with insured deposits—many

economists consider full-reserve banking a safer alternative to deposit insurance. Id.;

see also Patricia A. McCoy, The Moral Hazard Implications of Deposit Insurance:

Theory and Evidence (Feb. 18, 2007), http://tinyurl.com/2buuudsp.19

      Because of its 100% reserve requirement, Custodia’s SPDI could not fail

because of bad loans, falling bond prices, depositors’ fears, or any common causes of

                          
      19 Full-reserve banking is uniquely situated to crypto asset regulation.
                                                                             Nearly
every proposal for regulation of stablecoins requires that each stablecoin be 100%
                                          17
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bank failures. It could, however, wind up for other reasons, including operational

risks, and sufficiently high liquidation costs could in theory leave its creditors,

including depositors, on the hook. But any reasonable capital cushion should rule out

this possibility, and Wyoming’s SPDI regulations provide for ample capital.

       The capital requirement in Wyoming’s 2021 SPDI Guidance has three parts:

       1. Capital Stock. The capital stock consists of a “[s]tatutory requirement of
          not less than $5,000,000.”           The Wyoming Division of Banking
          Commissioner is vested with authority to “set the capital requirement on a
          case-by-case basis,” “in a manner commensurate with the risk profile and
          proposed activities of the institution.”

       2. Surplus/Operating Expenses. The capital requirement includes three years
          “of projected operating expenses” “specified in the [SPDI’s] business plan.”

       3. Contingency Account. The capital requirement also includes “2%” of non-
          custodial demand “deposits of fiat currency” starting in the SPDI’s third
          year of operation.

Special Purpose Depository Institutions: Updated Capital Requirement Guidance,

supra (emphasis added).         Wyoming law requires the Banking Commissioner to

consider the following factors with a holistic review: (i) “[p]eer institutions” of the

SPDI, “which may include custodial banks and national trust banks”; (ii) the

“activities and risks posed by the business plan and financial projections” of the SPDI ;

(iii) the federal “prompt corrective action tier 1 leverage ratio”; (iv) the “non-leveraged

nature of deposits related to custodial, fiduciary and trust accounts administered by

the institution”; (v) “[c]urrent market conditions, including capital requirements of

recently-chartered de novo banks”; and (vi) “[p]otential costs of a receivership.” 021-

                            
backed by high-quality liquid assets held at a central bank or in government bonds.
See Fin. Stability Bd., High-Level Recommendations for the Regulation, Supervision and
Oversight of Global Stablecoin Arrangements 11 (July 17, 2023), http://tinyurl.com/4tkx3ypf.
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20 Wyo. Code R. § 20-2(d)(i)–(vi) (emphasis added); see also Special Purpose

Depository Institutions: Updated Capital Requirement Guidance, supra.

         “Generally, the Division [of Banking] focuses significantly on the activities and

risks posed by the business plan of a SPDI and its financial projections.” Special

Purpose Depository Institutions: Updated Capital Requirement Guidance, supra 20

The Guidance makes clear that “[a] prospective SPDI should anticipate an initial

capital requirement similar to a federally-insured institution and other recently

chartered de novo banks.” Id. at 2. And it notes that the Wyoming Division of

Banking expects that each SPDI “meet the capital ratios set by the Federal Reserve

and FDIC.” Id. Wyoming SPDIs are regulated by the Wyoming Division of Banking,

Wyo. Stat. Ann. § 13-12-119, which developed a detailed, 772-page supervisory

examination manual, Special Purpose Depository Institution Examination Manuals,

supra.

         Even though the SPDI framework has existed for more than three years, the

Federal Reserve Board has not approved any SPDIs for “master accounts.” Bob

Fernandez, Wyoming Effort to Support Crypto-Focused Banks Set Back by Fed

Concerns About Industry, Wall St. J., Sept. 5, 2023.

         2.    Defendants contend it would be “highly anomalous” to conclude that the

Board of Governors is required to give master accounts to “any and all state-chartered

depository institutions, regardless of the Board of Governors’ concerns about a given

                             
         20 As they created the SPDI framework, Wyoming lawmakers consulted with

the Kansas City Fed and implemented changes based on the Kansas City Fed’s
suggestions. Bob Fernandez, Wyoming Effort to Support Crypto-Focused Banks Set
Back by Fed Concerns About Industry, Wall St. J., Sept. 5, 2023, at 4.
                                            19
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requestor.” Fed. Rsrv. Bank of Kan. City Mot. to Dismiss, ECF 124 at 9–10. More

“anomalous,” however, is a federal agency second-guessing a state’s bank-chartering

decision. Stephen J. Friedman, A New Paradigm for Financial Regulation: Getting

From Here to There, 43 Md. L. Rev. 413, 421 (1984) (“State banks were permitted to

join the Federal Reserve System while still retaining their state charters as long as

they met minimum capital and reserve requirements.”). Defendants highlight two

“concerns” with Custodia.      Neither concern justifies expanding the scope of the

Federal Reserve Board’s power when granting master accounts. And both concerns

disparage the state chartering process and undermine the dual banking system.

      First, Defendants insist that they must be able to review a state-chartered

bank’s risk profile. See ECF 124 at 8–9; see also FRB Order No. 2023-02, Order

Denying     Application       for   Membership      at    4    (Jan.    27,    2023),

http://tinyurl.com/bdda8zwt (asserting that Custodia’s “risk management and

controls” are “insufficient”). The Federal Reserve Board does not seek to evaluate a

state-chartered bank’s risk profile in the first instance. Instead, it claims power to

re-review the entity’s risk profile with the assumption that the state’s process is

insufficient. Accord ECF 124 at 10 (suggesting that states issue charters “under

whatever standards and procedures the state might choose to prescribe or follow

(even if the charter contains unique features that remove or weaken protections that

exist for traditional bank customers)”). Such a pejorative approach to state-issued

charters tarnishes the dual banking system.21       And this presumption is itself

                          
      21 Of course, the Federal Reserve Board is not required to give a master account

to entities violating or that propose violating federal money laundering law or
                                          20
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undermined by discovery in this case, which revealed that the Federal Reserve Bank

of Kansas City generally agreed with Wyoming’s risk analysis, before they were

reversed by the Board. See ECF 239 at 25–26.

      Second, Defendants suggest they must be able to review the sustainability of

a state-chartered bank’s business model. ECF 124 at 8–10. In this way, the Federal

Reserve Board exceeds mere skepticism of Wyoming’s risk analysis. It also includes

a power to weigh in on the strength of a bank’s business model.22 An assertion of

power to deny a master account because the Board doubts the likelihood that the

business will thrive is unprecedented. Adopting the Board’s newfound power to deny

master accounts based on its judgment of whether a business model will likely

succeed is sure to squelch innovation, which is often pioneered by states.

      In any event, Defendants’ distrust of state regulatory bodies is misplaced, and

the Supreme Court requires that courts greet it with skepticism.             Utility Air

Regulatory Grp. v. EPA, 573 U.S. 302, 324 (2014) (“When an agency claims to discover

                           
providing banking services to industries engaged in activities that are illegal. Fourth
Corner Credit Union, 861 F.3d at 1053; Banco San Juan Internacional, Inc. v. Fed.
Rsrv. Bank of N.Y., No. 23-cv-6414, 2023 WL 7111182, at *8 (S.D.N.Y. Oct. 27, 2023).
If an entity that passed a state risk assessment is not otherwise violating federal law,
the Board cannot leverage the master account process to oversee states.
       22 See FRB Order No. 2023-02, Order Denying Application for Membership,

supra, at 9–10 (“Even if Custodia were able to successfully remediate all issues
identified with respect to its ability to safely and soundly conduct its limited day-one
activities, conducting only this limited set of activities would not enable it to
constitute a viable bank in the medium or long term. Moreover, the future earnings
prospects of the business model that Custodia has proposed—that is, an uninsured,
undiversified, crypto-asset-focused business model featuring a number of novel and
untested activities posing heightened risks—is inconsistent with approval.”).
Discovery, however, has cast significant doubt on the validity of the Board’s
conclusions here. ECF 239 at 23–24 (discussing the Board’s anti-crypto shift after
the collapse of FTX).
                                          21
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in a long-extant statute an unheralded power to regulate a significant portion of the

American economy, . . . [we] typically greet its announcement with a measure of

skepticism.”) (internal quotation marks and citation omitted).23 Inventing a new

oversight role for the Board as part of the master account process would be improper

and undermined by the Board’s long-held representation that it is not tasked with

weighing risk for a state chartered bank. To the extent that the Board based its

decision to deny Custodia a master account on perceived inadequacies in Wyoming’s

regulatory scheme, the denial was improper; and in any event, Wyoming has a strong

regulatory framework for digital assets that is respected, even by former Kansas City

Federal Reserve President Esther George. See ECF 239 at 8 (discussing President

George’s “deep respect for the Wyoming Division of Banking”).

      3.     Finally, even in the case of financial innovation that presents some risk,

avoiding risk is not without tradeoffs. Notwithstanding a shift to digital payments,

“the underlying infrastructure for processing payments remains slow, unwieldy, and

expensive. Sending money from one person’s bank account to another . . . routinely

takes at least one, if not often multiple business days to finalize. During these




                           
      23 “[T]he empirical evidence does not support the existence of a ‘competition in

laxity’ between federal and state banking regulators. In recent years, state banks
have consistently outperformed national banks in terms of average capital ratios and
average returns on assets and equity. In addition, the recent bank failure rate has
been lower for state banks than for national banks.” Wilmarth Jr., supra, at 1240;
id. at 1242 (“The empirical evidence on state bank performance supports the view
that the states have generally maintained good regulatory standards with regard to
banks. Over the past six years, the capital ratios, financial results, and failure rates
have been significantly more favorable for state banks than for national banks.”).
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lengthy processing periods, those entitled to money cannot use it-resulting in loss of

economic value.” Yadav et al., supra, at 3.

      Bulky federal regulation is not well-equipped to account for such innovation.

The proposed Access Guidelines, for example, would likely prohibit banks from

implementing online banking services.24 Commonplace payments that used to be

“unimaginable” (online shopping or taking a cab without cash) are now seamless. Id.

at 15. But these innovations “ultimately rest on core payment processing systems

founded on long-established, bank-centric infrastructure[,]” inviting exploration into

how the system can be made more efficient and effective. Id.

      As federal legal support for innovation stagnates, other countries are actively

courting the next wave of technology by providing regulatory frameworks that

facilitate innovation while protecting market participants.25 The European Union

created a cross-border payment zone to facilitate seamless payments across member

countries.   See The EPC and the SEPA Process, European Payments Council,

http://tinyurl.com/y27hduk7 (last visited Jan. 18, 2024). Swiss civil law recognizes

cryptocurrencies as intangible assets and permits the transfer of crypto tokens as a

representation of value (while also regulating transfer of rights through digital

registers). Libr. of Congress, Switzerland: New Amending Law Adapts Several Acts to


                           
      24 This was obviously not the Federal Reserve’s intent but is a consequence of

the Guidelines’ text.
       25 “Many countries and regions have sought to create new payment rails

capable of enabling user-friendly, digital, cheap, instant or very quick, and person-to-
person/account-to-account payments as a critical part of their domestic financial
infrastructure.” Yadav et al., supra, at 28 (discussing innovations in “real-time
payment” technology in India, China, Thailand, Brazil, and South Korea).

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Developments        in   Distributed   Ledger     Technology        (Mar.   3,   2021),

http://tinyurl.com/4zxc2aft.   Hong Kong regulators expanded jurisdiction to offer

“investor protection” while building a “regulatory framework across the entire

ecosystem such that Hong Kong” has become “a hub for cryptocurrency activity” in

Asia. See Gaven Cheong et al., Government Attitude and Definition in Blockchain &

Cryptocurrency Laws and Regulations 2024 | Hong Kong, Global Legal Insights,

http://tinyurl.com/25n32h2d (last visited Jan. 18, 2024).26 And the Bank of England

now requires that issuers back all outstanding stablecoins with deposits in a master

account at the Bank of England. See Bank of England, Regulatory Regime for

Systemic Payment Systems Using Stablecoins and Related Service Providers (Nov.

2023), http://tinyurl.com/2ze5nzux. If the American banking system cannot adapt, it

will fall behind.

       The Federal Reserve Board’s newfound risk-assessment responsibility as part

of the master account process not only undermines the important role Wyoming’s

innovative SPDI system plays, it also stymies state innovation outside the crypto

industry. And because states have been laboratories of innovation, impeding states’

progress will, in turn, impede federal innovation, and ultimately restrict America’s

future competitiveness in the global financial services industry.


                           
       26 Digital asset banks in Switzerland, France, and Germany have raised money

and offered services without major failures. See, e.g., Martin Leo Rivers, The World’s
First Regulated Crypto Bank Braces For Flood Of Institutional Money, Forbes (Apr.
21, 2022), http://tinyurl.com/2s4mbd8s. These firms and traditional banks facilitating
digital asset banking have been successful and stable global pioneers. Jonathan
Buck, Bitcoin Banking: European Banks Are Beating U.S. Banks In The Crypto
Custody Race, Forbes (July 12, 2023), http://tinyurl.com/ythh6ef2.
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      Creating a new layer of federal administrative oversight to second-guess and

effectively override state charter risk assessment is inconsistent with the dual

banking system and undermines states’ roles as laboratories of financial innovation.

It also conflicts with Congress’s intent to maintain the integrity and strength of the

dual banking system.

                                   CONCLUSION

      Plaintiff’s Petition for Review and Motion for Judgment as a Matter of Law

should be granted.

                                              Respectfully submitted,

Dated: January 18, 2024                          /s/ Michelle S. Kallen
                                                  Michelle S. Kallen
                                                     Counsel for Amici Curiae

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                            CERTIFICATE OF SERVICE

      I hereby certify that on the 18th day of January 2024, I caused the foregoing

document to be electronically transmitted to the Clerk of Court of the U.S. District

Court, District of Wyoming, using the CM/ECF system for filing. Based on the records

currently on file the Clerk of Court will transmit a Notice of Electronic Filing to all

registered counsel of record.



Dated: January 18, 2024                    By:    /s/ Michelle S. Kallen
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                                 APPENDIX
                    DESCRIPTION OF AMICI CURIAE SCHOLARS

      Gerald P. Dwyer is an Emeritus Professor and BB&T Scholar at Clemson

University. Previously, he was Director of the Center for Financial Innovation and

Stability and Vice President at the Federal Reserve Bank of Atlanta for more than a

decade. Professor Dwyer’s scholarship has appeared in The Oxford Handbook of the

Economics of Central Banking, the Journal of International Money and Finance,

Applied Economics, and other top publications.

      Frank Emmert is a Professor of Law at the Indiana University Robert H.

McKinney School of Law. He has published more than a hundred books, articles, and

conference papers, with a focus on business law and financial markets in the United

States and abroad. Professor Emmert is a thought leader on digital asset creation,

regulation, and stabilization around the globe.

      Tonya M. Evans is a Professor of Law at Penn State Dickinson Law with a co-

appointment    at    the   Penn   State   Institute   for   Computational   and   Data

Sciences. Professor Evans speaks and consults regularly in the United States and

abroad about the legal implications of new technologies and innovation. She sits on

the Digital Currency Group Board of Directors and is the author of Digital Money

Demystified.

      Julie Andersen Hill is the Vice Dean and Alton C. and Cecile Cunningham

Craig Professor of Law at the University of Alabama School of Law. Professor Hill is

a recognized expert on financial institution regulation. Her scholarship has appeared




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in the Yale Journal on Regulation, Washington University Law Review, Indiana Law

Journal, the Wisconsin Law Review, and other respected publications.

      George Selgin is a senior fellow and director emeritus of the Center for

Monetary and Financial Alternatives at the Cato Institute and professor emeritus of

economics at the University of Georgia. His research covers a broad range of topics

within the field of monetary economics, including monetary history, macroeconomic

theory, and the history of monetary thought. He is the author of numerous articles

and books and is a founder of the Modern Free Banking School.




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